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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

: Crim. No. 1:21-cr-00034-CRC-2
Vv. :

JACOB FRACKER

MOTION TO ADOPT AND JOIN MOTION
TO DISMISS COUNT ONE OF INDICTMENT
FILED BY CODEFENDANT

Jacob Fracker, by and through undersigned counsel, respectfully moves this Court for
the entry of an order granting Mr. Fracker leave to adopt and join Co-defendant Thomas
Robertson’s MOTION TO DISMISS COUNT ONE OF THE INDICTMENT, filed in Co-
defendant Robertson’s case on December 1, 2021, and attached hereto.

Defendant Fracker is charged by indictment with exactly the same charges as Co-
defendant Robertson, and both men are substantially similarly situated. This would avoid
duplication and should expedite matters for the Court.

WHEREFORE, for the foregoing reasons as well as any additional reasons deemed
meritorious by the Court, counsel and Mr. Fracker request that the Court grant this motion

and sign the attached order.

Respectfully submitted,

isi

Bernard F. Crane, Esquire, DC Bar No. 386978
(Attorney for Defendant Fracker)

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CERTIFICATE OF SERVICE

I hereby certify that on January 17, 2022 | electronically filed a copy of the foregoing with the Clerk of the
Court using the Court’s electronic filing system, and served a copy of the same by electronic mail to the
following:

Elizabeth Aloi, Esquire, AUSA elizabeth.aloi@usdoj.gov
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Mark Rollins, Esquire (counsel for Co-defendant Robertson) mark(@rollinsandchan.com

 

/s/

 

Bernard F. Crane
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
: Crim. No. 1:21-cr-00034-CRC-2
v. :

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JACOB FRACKER

ORDER
Upon consideration of Defendant Jacob Fracker’s MOTION TO ADOPT AND JOIN

MOTION FOR RELIEF FILED BY CODEFENDANT and for good cause shown, it is this

_day of January, 2022 hereby ORDERED that this motion should be and is hereby

GRANTED.

 

Christopher R. Cooper, US District Court Judge
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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

United States : Case Number:1:21-cr-00034-CRC

Vv.

Thomas Robertson

DEFENDANT’S MOTION TO DISMISS COUNT ONE
OF THE INDICTMENT

Defendant Thomas Robertson, by and through Undersigned counsel, pursuant to
Fed. R. Crim. P Rules 7(c)(1) and 12(b)(3)(B), the Fifth and Sixth Amendments to the
United States Constitution, and the authority discussed herein, moves this Court to
enter an order dismissing Count One of the Indictment.
I. Introduction and Background

Mr. Robertson is charged by Indictment for acts allegedly committed at the
United States Capitol Building on January 6, 2021. He is charged with Four Counts.
Counts two through four are misdemeanor offenses, specifically:

Count Two: Entering and Remaining in a Restricted Building or Grounds, in violation of
18 U.S.C. § 1752(a)(1)

Count Three: Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in
violation of 18 U.S.C. § 1752(a)(2)

Count Four: Disorderly Conduct in a Capitol Building, in violation of 40 U.S.C. §
5104(e)(2)(D)

Mr. Robertson is charged with one felony. The allegation in Count One for the
felony offense of what the Indictment labels as “Obstruction of an Official Proceeding
Aiding and Abetting, in violation of Title 18, United States Code, Sections 1512(c)(2)
and 2,” as erroneously charged. Section 1512, in actuality, titles the offense as

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“Tampering with a witness, victim, or an informant.” Mr. Robertson request that this
Court dismisses Count One based on the following arguments. It should be noted that
the arguments in this motion are addressed before this Circuit in other January 6
cases’,
ll. Count One is Insufficient Because it Fails to Specify the “Proceeding

Before Congress” that Mr. Robertson Allegedly Obstructed

A criminal defendant “may raise by pretrial motion any defense, objection, or
request that the Court can determine without a trial on the merits.” Fed. R. Crim. P.
12(b)(3). Rule 12 provides that a defendant may also move to dismiss the Indictment for
“failure to state an offense” and “lack of specificity.” Fed. R. Crim. P.12(b)(3)(B)(iii),(v).
The legal standards applicable to determining the sufficiency of an indictment are fully
set out in United States v. Hillie, 227 F.Supp.3d 57 (D.D.C. 2017). As Judge Jackson
recognized, the sufficiency of an indictment implicates “at least two core constitutional
protections”: (1) the Sixth Amendment's right of an individual accused of
a crime “to be informed of the nature and cause of the accusation” and, (2) the Fifth
Amendment's guarantee that a criminal defendant may only be prosecuted for offenses,
the elements of which have been considered and found to exist by a grand jury such
that the defendant may not be subject to multiple prosecutions for the same offense. Id.

at 69-70 (citations omitted). Federal Rule of Criminal Procedure 7(c)(1) secures these

 

1 United States v. Grider, 1:21-cr-22-CKK; United States v. Caldwell and Crowl, 1:21-cr-28-APM United States v.
Reffitt, 1:21-cr-32-DLF; United States v. Montgomery and Knowlton, 1:21-cr-46-RDM; United States v. Sandlin,
1:21-cr-88-DLF; United States v. Andries, 1:21-cr-93; United States y. Cua, 1:21-cr-107-RDM; United States v. Miller,
1:21-cr-119-TJN; United States v. Mostofsky, 1:21-cr-138-JEB; United States v. Nordean and Biggs, 1:21-cr-175-TJK;
United States v. Costianes, 1:21-cr-180-RJL; United States v. Blair, 1:21-cr-186-CRC; United States v. Puma, 1:21-cr-
454-PLF; United States v. Riley, 1:21-cr-618-AB)

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constitutional rights by requiring that an indictment contain a “plain, concise, and definite
written statement of the essential facts constituting the offense charged....” FED. R.
CRIM. P. 7(c)(1).

As it relates to 18 U.S.C. § 1512(c) — the statute that Mr. Robertson allegedly
violated as set out in Count One — the Court in United States v. McGarrity, 669 F.3d
1218 (11th Cir. 2012), held that an indictment for obstruction under that section is
likewise insufficient when it fails to specify what “official proceeding” was allegedly
obstructed. Id. at 123-40. In that case, the defendants were charged by Indictment with
obstructing an official proceeding in violation of 18 U.S.C. § 1512(c). id. at 1239. The
Indictment, however, did not specify what that official proceeding was. Id. The Court
noted this was insufficient to “apprise [] the defendant(s] of what [charges they] must be
prepared to meet” as the only notice was given was that the defendants “obstructed an
unknown official proceeding at some time in someplace by some action.” Id. (quoting
Russell, 369 U.S. at 763).

Count One of the Indictment against Mr. Robertson suffers from the same
problem present in McGarrity, merely repeating the language of the criminal statute
allegedly violated, in this case, Section 1512(c)(2), and, like in McGarrity, failing to
specify what “official proceeding,” or more specifically, what “proceeding before
Congress” was allegedly obstructed. Such information is necessary here.

The Supreme Court decision in Russell v. United States, 369 U.S. 749, 82 S. Ct.
1038, 8 L. Ed. 2d 240 (1962), is instructive here, as well. In Russell, the Court held that
an indictment charging a defendant with refusing to answer questions before a

congressional subcommittee was insufficient and affirmed its dismissal because the

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Indictment failed to allege the subject of the congressional committee’s inquiry an
essential element of the offense. Id. at 754-55, 771-72. As the Court noted, “Where
guilt depends so crucially upon such a specific identification of fact, our cases have
uniformly held that an indictment must do more than simply repeat the language of the
criminal statute.” Id. at 764. The Court noted that, for the specific charged offense, in
that case, a violation of 2 U.S.C. § 192 involving the refusal to answer questions before
Congress, “the very core of criminality under [that statute] is pertinency to the subject
under inquiry of the questions which the defendant refused to answer.” Id. at 764.

As the Court stated in Russell, “the very core of the criminality” that the statute
proscribes depends on “a specific identification of fact,” namely, what the “proceeding”
was that Mr. Robertson allegedly obstructed. Russell, 369 U.S. at 764. In sum, without
identifying what “official proceeding” was allegedly obstructed, no criminal charge in
violation of Section 1512(c)(2) can be sustained. Section 1512(c)(2) does not proscribe
the obstruction of any and every proceeding before Congress.

ltl. Count One is Also Insufficient Because The Electoral Count on January 6 is
not an “Official Proceeding.”

When considering the legislative history of 18 U.S.C. §1512 and Congress's role
in counting the electoral votes pursuant to the 12th Amendment and the Electoral Count
Act of 1887, later codified in 3 U.S.C. §15, the electoral count is a ceremonial and
administrative event that is not an “official proceeding” contemplated in §1512; it is not
an adjudicative proceeding involving witness testimony and evidence. The Twelfth
Amendment and the Electoral Count Act of 1887 place the responsibility on Congress to
count electoral votes after the states have already heard any disputes and certified the

vote. Bush v. Gore, 531 U.S.98, 154 (2000) (Breyer, J., dissenting). Members of

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Congress may object, in writing, and without argument. 3 U.S.C. §15. According to the
statute, there is no testimony, no witnesses, no argument, and evidence.

The purpose of the Electoral Count Act of 1887 was to resolve years of confusion
as to what exactly Congress's role was in counting the electoral votes. The seven
sections of the Act attempt to do five things:

(1) | Give the states enough time between election day and elector balloting day to
settle controversies over the appointment of their presidential electors
(Section 1);

(2) | Encourage the states to establish mechanisms for resolving contests over the
appointment of presidential electors prior to the day of electoral balloting

(Section 2);

(3) | Publicize and place on the record the states’ determination of the outcome of
their electoral appointment process (Section 3)

(4) | Minimize congressional involvement in resolving controversies over elector
appointment not authoritatively resolved by the states (Section 4);

(5) Settle procedural issues for conducting the joint session at which Congress
counts the states’ electoral votes (Sections 4-7).?

The sponsors of the Electoral Count Act hoped that “if the disputes touching the
Constitution of the Electoral Colleges in the States could be disposed of in advance of
their action, the counting of the electoral votes at the seat of government...would
usually be a little more than a formal ceremony.”? Section 5 of the Act provides that the
“State’s selection of electors “shall be conclusive, and shall govern in the counting of the

electoral votes” if the procedural rules have been followed. Bush v. Gore, 531 U.S. 98,

 

2 Stephen A. Siegel, The Conscientious Congressman’s Guide to the Electoral Count Act of 1887,
S6FLLR 541, 578 (2004)

3 Stephen A. Siegel, The Conscientious Congressman’s Guide to the Electoral Count Act of 1887, 56 FLLR
541, 585 (2004) (quoting Senator George Edmunds in H.R. Misc. Doc. No. 44-13, supra note 31, ati8).

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113 (2000) (Rehnquist, J., concurrence). Thus, the Act's legislative history suggests that
the Electoral Count is intended to be a “ceremonial” finalization of the votes that have
already been certified by the states to ensure that certain requirements have been met
before the votes are finalized recorded. So while Congress is in session on January 6, it
is not the “proceeding before Congress” for purposes of §18 U.S.C. 1512(c) and
1515(b).

The basis of count one of the Indictment is that Mr. Robertson intended to
“impede or influence” Congress's certification of the Electoral College vote on the basis
that the “ceremonial” certification is an “official proceeding.” As outlined by the
congressional intent of 18 U.S.C. §1512(c) and the legislative history and purpose of the
Electoral Act of 1887, “obstruction of an official proceeding before Congress” was never
intended to apply to an event that involves no witness testimony, documentary or
tangible evidence, or meaningful adjudication. Of course, most-if not all-of
congressional hearings involve witness testimony and documentary evidence and allow
Congress to exercise their investigatory power. Section1512(c) is designed to protect
the integrity of witness testimony and evidence at those proceedings. See generally
United States v. Poindexter, 951 F.2d 369, 382 (D.C. Cir. 1991) (discussing how the
Victim and Witness Protection Act of 1982 created a new provision, §1512, which
prohibits various forms of witness tampering). Moreover, counting the electoral college
votes is not an adjudicative proceeding. Congress was tasked with merely ensuring that
the requirements for certification have been followed after the states have already

determined that the votes were lawfully certified.

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The administrative and ceremonial proceeding was not the target of §1512(c).
The government cannot conveniently group the unique tradition of the Electoral Count
with every other Congressional hearing as they are completely different and possess
different functions and characteristics. The government also cannot ignore years of
precedent and legislative history where the clear purpose of 18 U.S.C. §151 2(c)(2) is to
protect the integrity of hearings where there is a potential for destruction of documents
and witness tampering.

Furthermore, the Court in Ermoian v. United States was one of the first appellate
decisions to consider the meaning of “official proceeding” as that term is used in Section
1512(c) and defined in Section 1515. See Ermoian, 752 F.3d at 1168 (“Our circuit has
never before addressed the meaning of the term ‘official proceeding’ as used in the
obstruction of justice statute at 18 U.S.C. § 1512.”). Although that case considered
whether a criminal investigation by the FBI was considered an “official proceeding” for
purposes of the statute, the Court noted, “[a]s used in the statute, the definition of the
phrase ‘official proceeding’ depends heavily on the meaning of the word ‘proceeding”
and further noted, “[t]hat word is used — somewhat circularly — in each of the
definitions for an ‘official proceeding’ and is key to the phrase’s meaning.” Id. at 1169.
ill. | Even if the Court determines that the Electoral Count is an “Official

Proceeding,” 18 U.S.C. §1512(C)(2) is Unconstitutionally Vague and is

Vague as Applied to this case

Under the same principles of United States v. Johnson, 576 U.S. 591 (2015) and
its progeny, 18 U.S.C. §1512(c)(2) violates due process as it is vague and does not
provide fair notice to Mr. Robertson as to the conduct it punishes. The statute provides

that:

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“Whoever corruptly —

1. Alters, destroys, mutilates, or conceals a record, document, or other
object, or attempts to do so, with the intent to impair the object's integrity
or availability for use in an official proceeding; or

2. Otherwise obstructs, influences, or impedes any official proceeding, or
attempts to do so...shall be fine....or imprisoned...

18 U.S.C. §1512(c)(1)(2)(emphasis added). First, §1512(c) uses words throughout both
sections that require courts to speculate about their meaning in the context of the
defendant's particular actions. Courts must speculate as to the meaning of the word
“corruptly” acted and the phrase “official proceeding.” Even more problematic is that
subsection (c)(2) is a “residual clause,” one that is ambiguous and that requires Courts
to determine exactly what line must be drawn to determine if a defendant is otherwise
obstructing, impeding, or influencing an official proceeding before Congress.

The Court in Johnson explained that “the indeterminacy of the wide-ranging inquiry
required by the residual clause both denies fair notice to defendants and invites
arbitrary enforcement by judges.” Johnson, 576 U.S. at 597. There, the Court found a
due process violation where the residual clause enhanced a defendant's sentence in
the Armed Career Criminal Act if the prior felony “involved conduct that presented a
serious potential risk of physical injury to another.” Johnson, 576 U.S. 591. The residual
clause violated due process because it required speculation in each case as to what
could potentially cause injury in each set of circumstances. Id. at 598. The ambiguity
caused a wide range of interpretation and disparity among courts over nine years, and
the Court acknowledged that the “failure of persistent efforts to establish a standard can

provide evidence of vagueness.” Id.

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Similarly, the discussion above regarding what constitutes an “official proceeding”
illustrates just part of the confusion and lack of cohesiveness among jurisdictions
regarding what qualifies as an “official proceeding” and what does not. There has not
been any established standard to apply across all cases. The courts have had to
speculate and attempt to draw a line to distinguish “official proceedings” from just mere
ancillary proceedings or investigations. As discussed above, courts have generally
interpreted “official proceeding” to mean something more than an investigation and
something more formal; however, there has been no established standard. This has left
ambiguity among the courts. See United States v. Perez, 575 F.3d 164, 169 (2d Cir.
2009); United States v. Dunn, 434 F. Supp. 2d 1203, 1207 (M.D. Ala. 2006); United
States v. Sutherland, 921 F.3d 421, 426 (4th Cir. 2019); United States v. McDaniel,
2014 WL 2084891 (N.D. Georgia 2014).

The vagueness of the statute is not limited to the confusion surrounding what
constitutes an “official proceeding.” The D.C. Circuit has acknowledged that the word
“corruptly” is vague on its face as used in a similar statute, 18 U.S.C. §1505, that
prohibits obstruction of a proceeding before departments, agencies, or congressional
investigations. The Court held that “in the absence of some narrowing gloss, people
must guess at its meaning and application.” United States v. Poindexter, 951 F.2d 369,
398 (D.C. Cir. 1991). Previously, in Ricks v. District of Columbia, 414 F.2d 1097 (D.C.
Cir. 1968), the Court held a statute that criminalized “leading an immoral or profligate
life” vague because it found “immoral” to be synonymous with “corrupt, depraved,
indecent, dissolute, all of which would result in “an almost boundless area for the

individual assessment of another’s behavior.” Poindexter, 951 F.2d. at 399 (quoting

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Ricks, 414 F.2d at 1097. The Court explained that various dictionary definitions of the
word “corrupt” did not reduce the confusion as to its meaning for purposes of the
statute. Id. After an assessment of the legislative history and judicial interpretation, the
Court concluded that neither of those inquiries provided defendants with the
constitutionally required notice that the statute requires and found the term vague as
applied to the defendant making false statements. Id. at 406.

Following Poindexter, Congress amended §1515 to define “corruptly” for
purposes of §1505 only to mean “acting with an improper purpose, personally or by
influencing another, including making a false or misleading statement, or withholding,
concealing, altering, or destroying a document or other information.” §1515(b).
However, this amendment did not resolve the vagueness in §1512 as Congress did not
amend §1515 as it applies to §1512.

Even though the D.C. Circuit later held that the word “corruptly” was not vague as
applied, it was because in that case, the defendant influenced a witness, which fit
squarely within the non-vague category that Poindexter established. United States v.
Morrison, 98 F.3d 619, 630 (D.C. Cir. 1996). In Morrison, the defendant tried to
influence a witness's testimony and “exhorted her to violate her legal duty to testify
truthfully in court.” Id. The Court in Poindexter explained that influencing another to
“violate their legal duty” was not vague because “it would both take account of the
context in which the term “corruptly” appears and avoid the vagueness inherent in
words like “immorally.” Poindexter, 951 F.2d at 379. However, Morrison was not faced
with the question of what “corruptly” means in the context of Section 1512(c) and does

not resolve the ambiguity that the word presents in conjunction with the rest of the

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statute. Even taking “corruptly influences” together is still vague because “influence”
alone is another vague word and means something different than “influencing another to

violate their legal duty” as described in §1515.

Analyzing the government's approach to charging defendants with a violation of
§1512(c)(2), arising out of events on January 6, 2021, illustrates how vague and
arbitrary the enforcement of this statute can be. It appears as though the government
has been inconsistent in its charging decisions. It has attempted to draw some bright-
line rules by charging individuals with a violation of §1512(c)(2) if defendants entered
the Senate floor.4 However, when taking a look at some of the defendants that have

been charged with a violation of §1512(c)(2), the inconsistencies become clear.®

(1) | United States v. Isaac Sturgeon, 21-CR-91: Defendant alleged to have
assisted in pushing a barricade outside the Capitol building but never
entered the Senate chamber, never went inside the Capitol building, and
never made any threats to law enforcement or statements on social media
suggesting he wished to disrupt the vote. Mr. Sturgeon is also not alleged
to be a part of the Oath Keepers or the Proud Boys.

(2) | United States v. Kenneth Grayson, 21-CR-224: Defendant alleged to have
entered Capitol building, but not alleged to have entered the Senate
chamber. Prior to January 6, 2021, he allegedly wrote in a private
message, “! am there for the greatest celebration of all time after Pence
leads the Senate flip! OR IM THERE IF TRUMP TELLS US TO STORM
THE FUKIN CAPITOL IME DO THAT THEN!

 

4 See United States v. Paul Hodgkins, 1:21-CR-188 (RDM); United States v. Tommy Allan, 1:21-CR-064 (CKK); United
States v. Jacob Chansley, 1:21-CR-CO3 (RCL); United States v. Bradley Bennett, 1:21- CR-312 (JEB); United States v.
Leo Brent Bozell IV, 1:21-cr-216 (JDB) (not alleged to be a member of the Proud Boys or the Oath Keepers).

5 These are just a few cases out of hundreds that share the same inconsistencies.

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(3) | United States v. Benjamin Larocca, 21-CR-317: Defendant allegedly
entered Capitol building while screaming “Our House!” Was with an
individual who allegedly was yelling, “You fucking oath breakers!” Mr.
Larocca is not alleged to have entered the Senate floor and is not a
member of the Proud Boys or Oath Keepers.

(4) United States v. Sean Michael McHugh, 21-CR-436: Defendant allegedly
employed bear spray in direction of officers and yelled insults at officers.
Also allegedly used a megaphone and engaged crowd with chants, such
as “our house!” No evidence he entered the Capitol building or the Senate
floor.

(5) United States v. Dale Jeremiah Shalvey, 21-CR-334: Defendant allegedly
entered the Senate Chamber and is captured on video rummaging

through Senator Cruz's notes.

As illustrated by these cases, the facts and circumstances of each case vary
drastically from each other and make it clear that the government's charging decisions
are inconsistent. Some cases alleged entry into the Capitol building, while others did
not. More importantly, the government does not specify what “influence” these
defendants had or how exactly they “impeded.” The inconsistent charging decisions,
along with the inherently vague words in the statute, as well as the “residual clause” that
is the basis for charging these defendants, all show that 18 U.S.C. §1512(c)(2) is
unconstitutionally vague and does not provide fair notice to Mr. Robertson.

Lastly, the statute is especially vague as applied to Mr. Robertson’s case. The
government's theory appears to be that Mr. Robertson's subsequent statements,
presence in the Capitol building long after Congress was already evacuated, and post-

January 6, 2021 statements support a finding that Mr. Robertson “corruptly” “obstructed,

impeded, or influenced,” the Electoral Count. Based on this, Mr.Robertson could not

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have possibly been on notice that he was committing a felony obstruction of an official
proceeding. Mr.Robertson’s words were an expression of his First Amendment rights,
and there was no criminal intent to do anything more than express his anger regarding
the election. Mr. Robertson did not do anything actually to obstruct, influence, or
impede Congress. The circumstances of his case mirror those of many defendants on
that day whose mere presence and words did not place them on notice that they would
be committing a felony involving criminal intent to actually “obstruct” or “impede” or

“influence” an “official proceeding.”

The Supreme Court made it clear that “fighting words” are a very narrow
exception to the First Amendment and must “have a direct tendency to cause acts of
violence by the person to whom, individually, the remark is addressed.” Chaplinsky v.
New Hampshire, 315 U.S. 568, 753 (1942). Defendants like Robertson were not inciting
violence by expressing how they felt about the election and by assembling to express

those opinions.

Mr. Robertson’s subsequent social media remarks were not addressed to any
individual and were not actual threats, and the First Amendment should protect his
words. The government may argue that the collective presence of individuals chanting
together is part of the “obstructive” behavior. However, the First Amendment prohibits
placing liability on one for their association with another person. See N.A.A.C.P. v.
Claiborne Hardware Co., 458 U.S. 886, 887 (1982). Defendants who were merely in the
presence of others who took action to obstruct cannot be held responsible for their
words unless there is some direct incitement of those individuals to commit violence.

That is not the case here. Mr. Robertson, and many other defendants, had no direct

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bearing on what others in various parts of the crowd on January 6 were doing. The
obstruction statute should not apply so broadly as to encompass individuals who did not
have the “mens rea” to commit a crime or even notice that their presence or words

could be construed as criminal.

Obstruction statutes have been deemed unconstitutional for infringing on
protected expression. City of Houston v. Hill, 482 U.S. 451 (1987).7 In the City of
Houston, the Supreme Court dealt with the question of whether a municipal ordinance
prohibiting interrupting police officers in the performance of their duties was overbroad
and unconstitutional. Id. The Supreme Court held that the enforceable part of the
ordinance did not deal with criminal conduct but speech. Id. at 460. In its decision, the
Court acknowledged that “speech is often provocative and challenging...[But it]
nevertheless protected against censorship or punishment, unless shown likely to
produce a clear and present danger of a serious substantive evil that rises far above
public inconvenience, annoyance, or unrest. Id. (citing Terminello v. Chicago, 337 U.S.
1, 4 (1949). For that reason, the Court invalidated the ordinance as vague and
unconstitutional. Id. Similarly, the opinions allegedly expressed by Mr. Robertson were
just speech, and no matter how unpopular, they cannot be considered “criminal

conduct” punishable by the government.

WHEREFCRE, the Defense respectfully requests that this Court dismiss Count One

of the Indictment.

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Respectfully submitted,

Rollins and Chan Law Firm

Is/

DC Bar No. 453638

By: /s/ Mark M. Rollins

Mark Rollins

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CERTIFICATE OF SERVICE

| hereby certify that | served a copy of the foregoing Motion to Dismiss Count One of
the Indictment was filed electronically pursuant to the Rules of the Court and Emailed

to:

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Risa Berkower _risa.berkower@usdoj.gov

Is/

Mark Rollins

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